Case 2:11-cv-12422-AC-MKM ECF No. 129-3, PagelD.2068 Filed 07/28/14 Page 1 of 10

HARVEY KRUSE
A PROFESSIONAL CORPORATION

ATTORNEYS & COUNSELORS
1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800

ase 2:11-cv-12422-AC-MKM ECF No. 129-3, PagelD.2069 Filed 07/28/14 Page 2 of 10

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

NATIONWIDE LIFE INSURANCE COMPANY,
a foreign corporation,

Plaintiff,

VS. Case No. 11-cv-12422-AC-MKM
Hon. Avern Cohn

WILLIAM KEENE, JENNIFER KEENE,

MONICA LYNNE LUPILOFF, NICOLE RENEE
LUPILOFF and NICOLE RENEE LUPILOFF,
PERSONAL REPRESENTATIVE OF THE ESTATE
OF GARY LUPILOFF, DECEASED,

Defendants.
/
Michael F. Schmidt P25213 Albert L. Holtz P15088
Attorneys for Plaintiff Attorney for Monica Lupiloff, Nicole Lupiloff
1050 Wilshire Drive, Suite 320 and Nicole Lupiloff, Per Rep of the Estate of
Troy, MI 48084 Gary Lupiloff, Deceased
(248)649-7800 3910 Telegraph Road, Suite 200

Bloomfield Hills, MI 48302
(248)593-5000

John H. Bredell P36577

Attorney for Keenes

119 N. Huron Street

Ypsilanti, MI 48197

(734)482-5000
/

AMENDED COMPLAINT FOR INTERPLEADER AND DECLARATORY RELIEF

DEMAND FOR JURY TRIAL

NOW COMES the plaintiff, Nationwide Life Insurance Company (hereafter
‘Nationwide”), by and through its attorneys HARVEY KRUSE, P.C. and for its complaint for

interpleader and declaratory relief states as follows:

HARVEY KRUSE
A PROFESSIONAL CORPORATION

ATTORNEYS & COUNSELORS
1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800

Se 2:11-cv-12422-AC-MKM ECF No. 129-3, PagelD.2070 Filed 07/28/14 Page 3of1

1. The plaintiff, Nationwide, is an Ohio corporation with its principal place of
business located in Columbus, Ohio, which conducts business in the State of Michigan.

2. The defendant, William Keene, is a resident of Ann Arbor, Michigan.

3. The defendant, Jennifer Keene, is a resident of Ann Arbor, Michigan.

4. The defendant, Monica Lynn Lupiloff, upon information and belief, is a resident
of Oakland County, Michigan.

5. The defendant, Nicole Renee Lupiloff, upon information and belief, is a resident
of Oakland County, Michigan.

6. The defendant, Nicole Renee Lupiloff, Personal Representative of the Estate of

Gary Lupiloff, Deceased, upon information and belief, is a resident of Oakland County,

Michigan.
7. The amount in controversy is in excess of $75,000 exclusive of interest and costs.
8. This action is filed pursuant to FRCP 22 and is an interpleader because there are

multiple claimants to the proceeds of a policy of insurance issued by Nationwide which may
expose Nationwide to double or multiple liability and thus all potentially claiming parties are
joined as defendants and required to interplead.

9, Nationwide also denies liability as to any or all of the claimants if the policy of
insurance was procured by fraud.

10. Nationwide issued a life insurance policy, policy number L034804300 insuring
the life of Gary H. Lupiloff on 11/28/03 with an initial face amount of $500,000 and listing Gary
H. Lupiloff as the “Owner” of the policy, William Keene/ATIMA as the beneficiary and Monica
Lynn Lupiloff and Nicole Renee Lupiloff as contingent beneficiaries: (A copy of the policy as

issued is attached as Exhibit A)

1)

HARVEY KRUSE
A PROFESSIONAL CORPORATION

ATTORNEYS & COUNSELORS
1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800

se 2:11-cv-12422-AC-MKM ECF No. 129-3, PagelD.2071 Filed 07/28/14 Page 4of1

11. The purpose of the policy as indicated on the New Account/Suitability Form was
“to provide coverage over an investor loan for capital purchase.”

12. | On or about 6/11/07, Nationwide received a change of beneficiary form signed by
Gary H. Lupiloff on 4/4/07 which designated William Keene as the primary beneficiary and
Jennifer Keene, wife of William Keene, as contingent beneficiary. (Change of beneficiary form
attached as Exhibit B)

13. On or about 6/11/07 Nationwide received a change of ownership form signed by
Gary H. Lupiloff on 4/4/07 changing the Owner of the policy from Gary H. Lupiloff to William
Keene designated as “Business Relationship On File”. (Change of ownership form attached as
Exhibit C)

14. On or about 7/15/10, Nationwide received a telephone call from William Keene
informing Nationwide that Gary H. Lupiloff died on 7/13/10 and that the cause of his death was
homicide.

15. On or about 7/15/10 Nationwide emailed a beneficiary claim form and
instructions to William Keene for filing a claim for the proceeds of the policy.

16. On or about 7/28/10 Nationwide was informed by a representative of the Royal
Oak, Michigan Police Department that it was investigating the death of Gary H. Lupiloff and the
next day Nationwide received a search warrant from the Royal Oak Police Department
requesting any and all documents related to the Nationwide policy issued to Gary H. Lupiloff.

17. On or about 9/8/10 Nationwide received a letter from attorney Albert L. Holtz,
advising that he represented Nicole Renee Lupiloff, Personal Representative of the Estate of
Gary H. Lupiloff, Deceased, and Nicole Renee Lupiloff and Monica Lynn Lupiloff, Individually,

and asserted a claim for the proceeds of the policy on behalf of one or more of his clients and

HARVEY KRUSE
A PROFESSIONAL CORPORATION

ATTORNEYS & COUNSELORS
1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 : 248-649-7800

4.)

se 2:11-cv-12422-AC-MKM ECF No. 129-3, PagelD.2072 Filed 07/28/14 Page 5 of 10

requested that Nationwide pay no one until a determination was made by a court order which he
intended to seek.

18. On or about 12/14/11 Nationwide received a faxed beneficiary claim form for
beneficiary Nicole Renee Lupiloff signed 12/13/10. (Copy attached as Exhibit D)

19. On or about 12/15/10 Nationwide received a faxed beneficiary claim form for
beneficiary Monica Lynn Lupiloff signed 12/14/10. (Copy attached as Exhibit E)

20. On or about 1/4/11 Nationwide received a faxed beneficiary claim form for
beneficiary William Keene signed 7/15/10. (Copy attached as Exhibit F)

21. | Nationwide was advised by the Royal Oak Police Department that William Keene
was a suspect in the murder of Gary H. Lupiloff.

22. On or about 2/2/11 Nationwide advised William Keene that Nationwide could not
pay the proceeds of the policy to a person involved in the murder of an insured and that
Nationwide could not pay the proceeds in this case because the perpetrator of the crime had not
been determined.

23. The Royal Oak Police Department advised Nationwide again on 2/11/11 that
William Keene was still a suspect in the death of Gary H. Lupiloff.

24, Nationwide was advised by the Royal Oak Police Department on or about 5/6/11
that the lead suspect in the murder of Gary H. Lupiloff was William Keene.

25. Pursuant to MCL 700.2803 the so-called “slayer statute” an individual who
feloniously and intentionally kills the decedent forfeits all benefits with respect to the decedent’s
estate including any insurance or annuity policy benefits.

26. Specifically MCL 700.2803(4) states that a provision of a governing instrument is

given effect as if the killer disclaimed all provisions revoked by this section or, in the case of a

HARVEY KRUSE

Ca

A PROFESSIONAL CORPORATION
1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800

ATTORNEYS & COUNSELORS

ise 2:11-cv-12422-AC-MKM ECF No. 129-3, PagelD.2073 Filed 07/28/14 Page 6 of 10

revoked nomination in a fiduciary or representative capacity, as if the killer predeceased the
decedent.

27. MCL 700.1104(k) defines a “governing instrument” to include an insurance
policy.

28. MCL 700.2804(1) provides that a payor or other third party is liable for a
payment made or other action taken three or more business days after the payor or other third
party actually receives written notice of a claimed forfeiture or revocation under MCL 700.2803.

29. ‘If the policy was initially procured with William Keene as beneficiary, and the
ownership then changed to William Keene and the contingent beneficiary changed to Jennifer
Keene with the intent to feloniously and intentionally kill the insured, Gary H. Lupiloff, the
policy would have been procured by fraud and would be void from its inception.

30. The policy defines the following terms:

BENEFICIARY: The Beneficiary is the person to whom the

Death Benefits are paid when the Insured dies. The Beneficiary is
named in the application, unless changed.

CONTINGENT BENEFICIARY: The Contingent Beneficiary
will become the Beneficiary if the named Beneficiary dies prior to
the date of the death of the Insured.

CONTINGENT OWNER: The Contingent Owner will become the
Owner if the named Owner dies prior to the date of death of the
Insured.

DEATH BENEFIT: The Death Benefit means the amount of
money payable to the Beneficiary if the Insured dies while this
policy is in force.

INSURED: The Insured is the person whose life is covered by
this insurance policy and named in the application.

HARVEY KRUSE

A PROFESSIONAL CORPORATION
1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800

ATTORNEYS & COUNSELORS

Case 2:11-cv-12422-AC-MKM ECF No. 129-3, PagelD.2074 Filed 07/28/14 Page 7 of 10

31.

32.

Beneficiary:

OWNER: The Owner is as stated in the application unless later
changed and endorsed on this policy. ‘You’ or ‘your’ refer to the
Owner of this policy.

The policy Death Benefit Provision states as follows:
DEATH BENEFIT PROVISION

We will pay the Death Benefit to the Beneficiary when we receive
satisfactory proof that the death of the Insured occurred while this
policy was in force. The part of any premium paid past the policy
month of death will be added to the amount paid on death. Any
amounts owed to us under the Premium Payment Provisions will
be deducted from the amount paid on death.

The policy contains Owner And Beneficiary Provisions which provide that the

owner has all rights under the policy during the lifetime of the Insured, unless otherwise
provided, that the Owner may name a Contingent Owner or a new Owner at any time during the
lifettme of the Insured, that while the Insured is living, the Owner may change any Beneficiary
or Contingent Beneficiary, and that if no Beneficiary is living or in existence when the Death

Benefit becomes payable, the insurer will consider the Owner or the Owner’s estate to be the

OWNER AND BENEFICIARY PROVISIONS

OWNERSHIP: The Owner has all rights under the policy during
the lifetime of the Insured, unless otherwise provided. If the
Owner dies before the Insured, the Owner’s estate becomes Owner
of the policy, unless the Owner has provided otherwise.

The Owner may name a Contingent Owner or a new Owner at any
time during the lifetime of the Insured. Any new designation of an
Owner will automatically revoke any existing designation. Any
request for change must be made in writing and recorded at our
Home Office. It is effective as of the date the written request is
signed. It will not apply to any payment made or action taken by
us before it was recorded.

BENEFICIARY: The Beneficiary and Contingent Beneficiary on
the Policy Date are named in the application. More than one
Beneficiary or Contingent Beneficiary may be named. If more
than one Beneficiary is designated when the Death Benefit

HARVEY KRUSE

Case 2:11-cv-12422-AC-MKM ECF No. 129-3, PagelD.2075 Filed 07/28/14 Page 8 of 10

A PROFESSIONAL CORPORATION
1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800

ATTORNEYS & COUNSELORS

becomes payable, payment to the survivors will be made in equal
shares, or in full to the last survivor, unless some other distribution
of proceeds is provided.

If any Beneficiary does or ceases to exist before the Death Benefit
becomes payable, that Beneficiary’s interest will be paid to any
surviving Beneficiaries or Contingent Beneficiaries according to
their respective interests, unless you have specified otherwise. If
no Beneficiary is living or in existence when the Death Benefit

becomes payable, we will consider you or your estate to be the
Beneficiary.

CHANGE OF BENEFICIARY: While the Insured is living, you
may change any Beneficiary or contingent Beneficiary. Any
change must be in a written form satisfactory to us and recorded at
our Home Office. Once recorded, whether or not the Insured is
then alive, the change will take effect as of the date you signed it.
It will not affect any payment made or action taken by us before it
was recorded. We may require that you send us your policy for
endorsement before making a change.

33. Thus, if William Keene, the Owner and Beneficiary, feloniously and intentionally
killed Gary H. Lupiloff, William Keene would be prevented by the slayer statute, MCL
700.2803, from recovering under the policy as the Beneficiary or as the Owner in the absence of
a Beneficiary.

34. Nicole Renee Lupiloff and Monica Lynn Lupiloff had been replaced as
Contingent Beneficiaries before the death of Gary H. Lupiloff, and Gary H. Lupiloff had been
replaced as the Owner before his death, and thus Nicole Renee Lupiloff, Monica Lynn Lupiloff,
Gary H. Lupiloff and Nicole Renee Lupiloff, as Personal Representative of the Estate of Gary H.
Lupiloff, would have no claim under the policy.

35. If there was fraud by William Keene in the issuance and procurement of the
policy and for being named beneficiary and for changing the contingent beneficiary to Jennifer
Keene, his wife, and to become the Owner of the policy, intending to obtain the policy benefits

by feloniously and intentionally killmg Gary H. Lupiloff, the policy would be void from its

inception and Nationwide would retain the Death Benefit and return the premiums paid.

HARVEY KRUSE

ATTORNEYS & COUNSELORS
1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800

Case 2:11-cv-12422-AC-MKM ECF No. 129-3, PagelD.2076 Filed 07/28/14 Page 9 of 10

36. This result would be in accord with equity, the law of fraud, the slayer statute,
MCL 700.2803 et seq, and the terms and provisions of the policy.

37. Nationwide has filed this complaint for interpleader and declaratory relief for the
court to determine whether the policy is void based on the fraud of some or all of the defendants,
and in the event that the policy is not void due to the fraud of some or all of the defendants,
which of the defendants is the appropriate payee of the Death Benefit of the policy.

WHEREFORE, the plaintiff, Nationwide Life Insurance Company, requests that:

(a) Each defendant be restrained from commencing any action against the plaintiff
Nationwide on the policy;

(b) Judgment be entered that no defendant is entitled to proceeds of the policy or any
part of it and that judgment be entered in favor of the plaintiff Nationwide that it may retain the
Death Benefit and return the premium payments to the Owner; or

(c) If the court determines that the plaintiff Nationwide is not entitled to retain the

A PROFESSIONAL CORPORATION

proceeds of the policy, that the court determine which of the defendants are entitled to recover
the Death Benefit under the policy and the plaintiff Nationwide be discharged from all liability
upon payment of the Death Benefit to that defendant; and

(d) Nationwide be entitled to recover its costs and attorney fees.

Respectfully submitted,
HARVEY KRUSE, P.C.

BY:_/s/Michael F. Schmidt
Michael F. Schmidt (P25213)
1050 Wilshire Dr., Suite 320
Troy, Michigan 48084-1526
(248) 649-7800

DATED: August 1, 2011

Case 2:11-cv-12422-AC-MKM ECF No. 129-3, PagelD.2077 Filed 07/28/14 Page 10 of

DEMAND FOR JURY TRIAL

BY:

NOW COMES the plaintiff, Nationwide Life Insurance Company, by and through its
attorneys HARVEY KRUSE, P.C. and hereby demand a trial by jury.

Respectfully submitted,
HARVEY KRUSE, P.C.

/s/Michael F. Schmidt

DATED: August 3, 2011

Michael F. Schmidt P25213
1050 Wilshire Drive, Suite 320
Troy, Michigan 48084-1526
(248) 649-7800

CERTIFICATE OF SERVICE

A PROFESSIONAL CORPORATION
1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800

HARVEY KRUSE

ATTORNEYS & COUNSELORS

I hereby certify that Janice A. Albertson electronically filed the foregoing pleading on 8-3-11 with the Clerk of the
Court via the Electronic Case Filing system which will send notice of filing to all attorneys of record.

/s/fJanice A. Albertson
Secretary to Michael F. Schmidt

10

